                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                         DOCKET NO. 3:06-cr-00151-6-FDW
 UNITED STATES OF AMERICA,                         )
                                                   )
                Plaintiff,                         )
                                                   )
        vs.                                        )                  ORDER
                                                   )
 MARTIN KALCHSTEIN,                                )
                                                   )
                Defendant.                         )
                                                   )

       THIS MATTER is before the Court pursuant to Defendant Martin Kalchstein’s Renewed

Unopposed Motion to Remove Electronic Monitoring (Doc. No. 205), filed September 6, 2007. For

the reasons stated in the unopposed motion, including the fact neither the United States Probation

Officer nor the Government oppose the motion, Defendant’s Motion is GRANTED.

       IT IS SO ORDERED.

                                                Signed: September 7, 2007




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